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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                                        )
CHARLES GRESHAM, et al.,                                )
                                                        )
                                        Plaintiffs,     )
                                                        )
                v.                                      )       No. 1:18-cv-01900-JEB
                                                        )
ALEX M. AZAR, et al.                                    )
                                                        )
                                        Defendants.     )
                                                        )

                          NOTICE OF FILING OF CERTIFIED INDEX TO
                                 ADMINISTRATIVE RECORD

        Pursuant to Local Rule 7(n)(1), attached hereto is the certified list of the contents of the

Administrative Record in this case. This list, together with an electronic copy of the Administrative

Record, will be sent to Plaintiffs’ counsel today via Federal Express.

        Respectfully submitted this 15th day of October, 2018,



Dated: October 15, 2018                         Respectfully submitted,

                                                JOSEPH H. HUNT
                                                Assistant Attorney General

                                                MICHELLE BENNETT
                                                Senior Trial Counsel
                                                Federal Programs Branch

                                                /s/ Matthew Skurnik
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